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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In r~;                                                ) Chapter 11

CENTER CITY HEALTHCARE,LLC d/b/a ) Case No. 19-11466(KG)
HAHNEMANN UNIVERSITY HOSPITAL, )
et al.,l                         ) Jointly Administered

                                  Debtors.            )
                                                            Re: Docket No. 302


          MOTION OF TENET BUSINESS SERVICES CORPORATION
      AND CONIFER REVENUE CYCLE SOLUTIONS,LLC FOR ENTRY OF
  AN ORDER AUTHORIZING TENET BUSINESS SERVICES CORPORATION AND
 CONIFER REVENUE CYCLE SOLUTIONS,LLC TO FILE EXHIBITS UNDER SEAL

         Tenet Business Services            Corporation ("Tenet") and             Conifer Revenue Cycle

Solutions, LLC ("Conifer") respectfully state the following in support of this motion:
                                              Relief Requested

         1.      Tenet and Conifer seek entry of an order (the "Order"), substantially in the form

attached hereto as Exhibit A: (a) authorizing Tenet and Conifer to file under seal the exhibits

(the "Exhibits")2 appended to the Motion of Tenet Business Services CorpoNation and Conifer

Revenue Cycle Solutions, LLC for Entry of an Order (I) Compelling Payment of All Unpaid

Postpetitzon Amounts Pursuant to 11 U.S.C. ~ 503(b)(1) or, in the Alternative, (II) Granting

Relieffrom the Automatic Stay to the Extent Necessary to Terminate the TSA and MSA


    The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number,
    are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher's
    Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
    SCHC Pediatric Associates, L.L.C. (0527), St. Christopher's Pediatric Urgent Care Center, L.L.C. (6447),
    SCHC Pediatric Anesthesia Associates, L.L.C.(2326), StChris Care at Northeast Pediatrics, L.L.C.(4056), TPS
    ofPA,L.L.C.(4862), TPS II ofPA,L.L.C.(5534), TPS III ofPA,L.L.C.(5536), TPS IV ofPA,L.L.C.(5537),
    and TPS V of PA, L.L.C. (5540). The Debtors' mailing address is 230 North Broad Street, Philadelphia,
    Pennsylvania 19102.

2   The Exhibits include (a)the termination notice Tenet and Conifer sent the Debtors on May 2, 2019,
    (b)the TSA,(c)the MSA,and (d)a dispute notice PARS sent Tenet on November 20, 2018.



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(the "Motion")3 and (b) directing that the Exhibits shall remain under seal and confidential and

not be made available to anyone without the express consent of Tenet and Conifer, except to

(i) the Court, (ii) the United States Trustee for the District of Delaware (the "U.S. Trustee"),

(iii) the advisors to the Official Coirunittee of Unsecured Creditors (the "Committee") on a

confidential, "professionals' eyes only" basis, and (iv) MidCap Financial Tt-ust ("MidCap"), as

DIP lender.

                                          Jurisdiction and Venue

       2.       The United States Bankruptcy Court for the District of Delaware (the "Court")

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Stancliizg Order ofReferencefrom the United States District Courtfor the District ofDelaware,

dated February 29, 2012. Tenet and Conifer confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and rule 9013-1(~ of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the "Local Rules"), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

       3.       Venue is pt-oper pursua~it to 28 U.S.C. §§ 1408 and 1409.

       4.       The bases for the relief requested herein are section 107(b) of title 11 of the

United States Code (the "Bankruptcy Code"), Banlcrtiptcy Rtile 90l 8, and Local Rule 90l 8-1.




   Capitalized terms used but not de~6ned herein lave the meal~ings liven to such teens in the Motion.


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                                          Basis for Relief

        5.     Pursuant to section 107(b) of the Bankruptcy Code, a bankruptcy court must

protect entities from potential harm that may result from the disclosure of certain confidential

information. 11 U.S.C. § 107(b). Specifically, section 107(b) provides, in relevant part as

follows:

               On request of a party in interest, the bankruptcy court shall, and on
               the bankruptcy court's own motion, the bankruptcy court may—

               (1) protect an entity with respect to a trade secret or confidential
               research, development, or commercial information ... .

Id. Section 105(a) of the Bankruptcy Code, in turn, codifies the inherent equitable powers of

bankruptcy courts and empowers them to "issue any order, process, or judgment that is necessary

or appropriate to carry out the provisions of this title." 11 U.S.C. § 105(a).

        6.     Bankruptcy Rule 9018 sets forth the procedures by which a party may obtain a

protective order authorizing the ding of a document under seal.             Bankruptcy Rule 9018

provides, in relevant part, that "[o]n motion, or on its own initiative, with or without notice, the

court may make any order which justice requires (1) to protect the estate or any entity in respect

of a trade secret or other confidential research, development, or commercial information." Fed.

R. Bankr. P. 9018. Further, Local Rule 9018-1(b) provides, in relevant part, that "[a]ny paz•ty

who seeks to file doctiiments under seal mList file a motion to that effect." Del. Bankr. L.R. 90]8-

1(b).

        7.     If the material sought to be protected satisfies one of the categories identified in

section l07(b) of tl~e Bankr•tiptcy Code, "the cotu~t is requi~~ed to protect a requesting party and

has no discretion to deny the application." Video Softwrn~e Dealers As.r'n v. Orion Pictures

Corp. (I7~ re Orion Pictzal~es Copp.), 21 F.3d 24, 27(2d Cir. 1994); accord hz re Global Crossiizg,

Ltd., 295 B.R. 720, 723 n.7 (Banlc~~. S.DN.Y. 2003). Put otherwise, section 107(b) of the

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Bankruptcy Code does not require a party seeking its protections to demonstrate "good cause."

Orion Pictzrres, 21 F.3d at 28. "Couj•ts have super•visor-y powers over their records and files and

may deny access to those records and files to prevent them from being used for an improper

put-pose." In re Kaiser Aluminufn Corp., 327 B.R. 554, 560(D. Del. 2005). Courts are required

to provide such protections "generally where open inspection may be used as a vehicle for

improper purposes." Orion Pictures, 21 I'.3d at 27. Indeed, the "authority goes not just to the

protection of confidential documents, but to other confidentiality restrictions that are warranted

in the interests ofjustice." Global Crossing, 295 B.R. at 724.

       8.     "Commercial information"—"info3-mation which would result in `an unfair•

advantage to competitors by providing them information as to the commercial operations of the

debtor"'—is one category of information within the scope of section 107(b) of the Bankruptcy

Code. In re Alters Healtheczre Corp., 353 B.R 66, 75 (Banlcr. D. Del. 2006)(quoting Orion

Pictures, 21 F.3d at 27-28); see Global Crossing, 295 B.R. at 725 (holding that the purpose of

Bankruptcy Rule 9018 is to "protect business entities from disclosure of information that could

reasonably be expected to cause the entity commercial injury"). Commercial information need

not rise to the level of a trade secret to be pt~otected under section 107(b) of the Bankruptcy

Code. See Orion Pictures, 21 F.3d at 27-28 (holding that section 107(b)(1) creates an exception

to the general rule that court records are open to examination by the public arid, under this

exception, an interested party has to show only that the information it wishes to seal is

"confidential" and "commercial" in nattu~e).

       9.      Here, the Exhibits contain sensitive commercial information, thus satisfying one

of the categories enumerated in section 107(b) of the Bankruptcy Code. The Exhibits include

confidential agreements between Tenet, Conifer, and the Debtors, ~s well as correspondence



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related thereto, which describes aspects of the confidential agreements. Abroad publication of

this information would be inappropriate and materially harmful to Tenet and Conifer's business.

It is of critical importance to Tenet and Conifer that the details of the Exhibits be kept

confidential so that their competitors may not use the information contained therein to gain a

strategic advantage over Tenet and Conifer in the marketplace. This information is not public,

and disclosure of this commercial information could cause significant injuries to Tenet and

Conifer.

        10.     Because the Exhibits contain highly confidential and sensitive commercial

information, Tenet and Conifer submit that they should be authorized to file the Exhibits under

seal. Tenet and Conifer submit that other parties in interest will not be materially prejudiced

because the Exhibits will be reviewed by the Court, the U.S. Trustee, the Committee, and

MidCap. Further, any party in interest can request that Tenet and Conifer permit them to review

the Exhibits or file a motion to unseal the Exhibits.

                                              Notice

       11.      Tenet and Conifer have provided notice of this motion to: (a) counsel to the

Debtors; (b)the Office of the United States Trustee; (c) counsel to the Official Committee of

Unsecured Creditors; (d) counsel to MidCap Funding IV Trust; (e) Drexel University d/b/a

Drexel University College of Medicine; (f) the Debtors' unions; (g) the Internal Revenue

Service; (h)the United States Attorney for- the District of Delaware; (i) the United States

Department of Justice; (j) the Pennsylvania Attorney General's Office; (k) the Pennsylvania

Department of Human Services; (1) the City of Philadelphia; and (m)all applicable federal, state

and local taxing and regulatory authorities having jurisdiction over the Assets; and (n) all parties

who have filed a notice of appearance and request for service of papers pursuant to Bai~lcruptcy



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Rule 2002. Tenet and Conifer submit that, under the circumstances, such notice constitutes good

and sufficient notice of this motion and no other or further notice need be given.

                                         No Prior Request

         12.     No prior motion for the relief requested herein has been made to this or any other

court.




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       WHEREFORE,Tenet and Conifer respectfully request that the Court enter the Order,

granting the relief requested herein and such other relief as the Court deems appropriate under

the circumstances.

Dated: July 26, 2019             PACHULSKI STANG ZIEHL &JONES LLP


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